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05:12:01    1                         UNITED STATES DISTRICT COURT

            2                               DISTRICT OF NEVADA

            3

            4   UNITED STATES OF AMERICA,          )    Case No. 2:21-mj-109-DJA
                                                   )
            5           Plaintiff,                 )    Las Vegas, Nevada
                                                   )    Monday, February 1, 2021
            6           vs.                        )    Courtroom 3A
                                                   )
            7   NATHANIEL J. DEGRAVE,              )    INITIAL APPEARANCE IN RULE
                                                   )    5(c)(3) PROCEEDINGS VIA
            8           Defendant.                 )    VIDEOCONFERENCE
                                                   )
            9
                                                        C E R T I F I E D   C O P Y
           10

           11

           12                           TRANSCRIPT OF PROCEEDINGS

           13                  BEFORE THE HONORABLE DANIEL J. ALBREGTS,
                                   UNITED STATES MAGISTRATE JUDGE
           14

           15    APPEARANCES:

           16    For the Plaintiff:

           17           UNITED STATES ATTORNEY'S OFFICE
                        BY: NICHOLAS D. DICKINSON, AUSA
           18           501 Las Vegas Boulevard South, Suite 1100
                        Las Vegas, NV 89101
           19           (702) 388-6336

           20    (Appearances continued on Page 2)

           21    DIGITALLY RECORDED:                Liberty Court Recorder (LCR)
                                                    4:42:50 p.m. - 5:32:20 p.m.
           22
                 RECORDED BY:                          J. Ries
           23
                 TRANSCRIBED BY:                     Heather K. Newman
           24                                       (702) 471-0002

           25    Proceedings recorded by electronic sound recording; transcript
                 produced by machine shorthand and computer-aided transcription.
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 1    APPEARANCES CONTINUED:

 2    For the Defendant:

 3           FEDERAL PUBLIC DEFENDER'S OFFICE
             BY: CRISTEN THAYER, AFPD
 4           411 East Bonneville Avenue, Suite 250
             Las Vegas, NV 89101
 5           (702) 366-6577

 6    Also present:

 7           Misty Sanchez
             United States Pretrial Services
 8

 9                                 *   *   *   *   *

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            1        LAS VEGAS, NEVADA; MONDAY, FEBRUARY 1, 2021; 4:42:50 P.M.

            2                                     --oOo--

            3                             P R O C E E D I N G S

05:12:02    4               COURTROOM ADMINISTRATOR:        United States of America vs.

05:12:07    5    Nathaniel DeGrave, 2:21-mj-109-DJA.         This is an initial

05:12:19    6    appearance on a Rule 5.

05:12:23    7               Counsel, make your appearance, please.

05:12:26    8               MR. DICKINSON:     Nicholas Dickinson for the

05:12:28    9    United States.

05:12:28   10               THE COURT:    Good afternoon, Mr. Dickinson.

05:12:34   11               MS. THAYER:    Good afternoon.     Cristen Thayer for

05:12:41   12    Mr. DeGrave, who is present and appearing by video at the

05:12:46   13    Nevada Southern Detention Center.

05:12:48   14               THE COURT:    Good afternoon, Ms. Thayer.       Have you --

05:12:51   15    and is it DeGrave or Degrauve (phonetic)?

05:12:59   16               THE DEFENDANT:     DeGrave.

05:13:00   17               THE COURT:    All right.    Mr. DeGrave.

05:13:02   18               Ms. Thayer, have you had a chance to talk to

05:13:05   19    Mr. DeGrave about appearing via videoconference as opposed to

05:13:10   20    in person given the pandemic?

05:16:19   21               MS. THAYER:    Yes, Your Honor, and he has agreed to

05:16:21   22    appear by video to have the appearance today.

05:16:27   23               THE COURT:    Mr. DeGrave, is that true, rather than

05:16:35   24    having yourself transported down to Las Vegas for an in-person

05:16:41   25    hearing, you agree to appear via videoconference as a result of
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05:16:46    1    the pandemic?

05:16:48    2               THE DEFENDANT:     Yes, Your Honor.

05:16:49    3               THE COURT:    All right.    Well, thank you, Mr. DeGrave.

05:16:51    4    I appreciate that.

05:16:52    5               Good afternoon.     My name is Daniel Albregts.      I'm a

05:17:21    6    United States Magistrate Judge for the District of Nevada and

05:17:24    7    you've been brought before the Court on a complaint which was

05:17:26    8    filed on January 28th, 2020, and that complaint originates out

05:17:31    9    of the District of Columbia.

05:17:32   10               Is your true name Nathaniel DeGrave?

05:17:40   11               THE DEFENDANT:     Yes, it is, Your Honor.

05:17:41   12               THE COURT:    How old are you, sir?

05:17:43   13               THE DEFENDANT:     I am 31.

05:17:45   14               THE COURT:    How far have you gone in school?

05:17:48   15               THE DEFENDANT:     I have gone to 11th grade.

05:17:50   16               THE COURT:    So you read, write, and understand

05:17:52   17    English?

05:17:53   18               THE DEFENDANT:     Yes, I do, Your Honor.

05:17:54   19               THE COURT:    Are you currently under the care of a

05:17:56   20    doctor or a physician for any medical condition?

05:18:00   21               THE DEFENDANT:     No, Your Honor.

05:18:01   22               THE COURT:    Are you currently being treated for any

05:18:03   23    psychiatric problem or mental health -- or mental illness?

05:18:10   24               THE DEFENDANT:     No, Your Honor.

05:18:11   25               THE COURT:    Have you consumed any alcohol or taken any
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05:18:16    1    prescribed medication, controlled -- or controlled substances

05:18:21    2    in the last 24 hours?

05:18:23    3               THE DEFENDANT:     No, Your Honor.

05:18:25    4               THE COURT:    Mr. DeGrave, you're informed that you're

05:18:27    5    charged in a three-count compliant as follows:

05:18:31    6               In Count One with Knowingly Entering or Remaining in

05:18:37    7    any Restricted Building or Grounds Without Lawful Authority in

05:18:39    8    violation of Title 18 United States Code § 1752(a)(1) and § 2;

05:18:53    9    in Count Two with Violent Entry and Disorderly Conduct on

05:19:02   10    Capital Grounds in violation of Title 40 United States Code

05:19:12   11    § 5 -- 5104(e)(2)(D), (E), (F), and (G); and in Count Three

05:19:25   12    with Obstruction of Law Enforcement During a Civil -- During

05:19:28   13    Civil Disorder in violation of Title 18 United States Code

05:19:36   14    § 231(a)(3).

05:19:37   15               Mr. DeGrave, have you received a copy of that

05:19:40   16    complaint?

05:19:42   17               THE DEFENDANT:     I have, Your Honor.

05:19:43   18               THE COURT:    Have you read it?

05:19:45   19               THE DEFENDANT:     Yes, I have.

05:19:46   20               THE COURT:    Mr. DeGrave, you're advised of your rights

05:19:49   21    as follows:

05:19:49   22               You're not required to make any statement about this

05:19:54   23    charge, either here in open court or to any law enforcement

05:19:58   24    officer.   Anything you do say can be used against you.

05:20:02   25               Because this case was brought from a different
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05:20:05    1    district from where you were arrested, in this district, you

05:20:08    2    have the right to an Identity Hearing at which the government

05:20:11    3    will be required to show that you are, in fact, the person

05:20:14    4    named in the complaint.      This Identity Hearing is not merely to

05:20:17    5    establish that your name is Nathaniel DeGrave, but rather that

05:20:24    6    you are, in fact, the person charged in the complaint.          You

05:20:27    7    may, if you so choose, waive your right to that Identity

05:20:30    8    Hearing in this district and proceed directly to the District

05:20:33    9    of Columbia to contest the charges.

05:20:34   10               You also have a right to a Preliminary Hearing in this

05:20:38   11    district at which the government will be required to provide

05:20:42   12    evidence that there is probable cause to believe you committed

05:20:44   13    the crime charged in the complaint.        At the Preliminary

05:20:47   14    Hearing, you have the right to cross-examine any adverse

05:20:52   15    witnesses against you and to subpoena witnesses to appear on

05:20:56   16    your behalf and to introduce evidence on your behalf at that

05:21:00   17    hearing.   You may elect to have the Preliminary Hearing

05:21:02   18    conducted in the District of Columbia where the prosecution is

05:21:05   19    pending.   In the event an Indictment is filed against you

05:21:10   20    regarding the charges contained in the complaint, the

05:21:12   21    Preliminary Hearing will be vacated and you will appear before

05:21:14   22    the Court to be arraigned on the Indictment and to enter a plea

05:21:19   23    to any charges contained in the Indictment.

05:21:23   24               Because you are charged in the District of Columbia

05:21:28   25    and you were arrested in the District of Nevada, you are
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05:21:32    1    further advised that under Rule 20 of the Federal Rules of

05:21:36    2    Criminal Procedure a prosecution may be transferred from the

05:21:38    3    district where the complaint has been filed to the district

05:21:41    4    where the defendant is arrested if the defendant states in

05:21:43    5    writing he wishes to plead guilty or no contest and to waive a

05:21:47    6    trial in the district where the complaint is pending, and the

05:21:50    7    defendant consents in writing in the court in the district of

05:21:55    8    the arrest and the district of the arrest may dispose of the

05:21:59    9    case.   Now, if you wish to do that, you need the consent of

05:22:08   10    both the United States Attorney in this district and the

05:22:12   11    District of Columbia.

05:22:13   12               Finally, you have the right to the assistance of legal

05:22:15   13    counsel at all stages of these proceedings that I have

05:22:18   14    described here today, and if you cannot afford a lawyer, the

05:22:21   15    Court will appoint a lawyer for you at the public's expense.

05:22:27   16               Mr. DeGrave, do you understand these rights?

05:22:31   17               THE DEFENDANT:     Yes, I do, Your Honor.

05:22:40   18               THE COURT:    And can you afford to hire an attorney at

05:22:42   19    the present time?

05:22:45   20               THE DEFENDANT:     At the moment, no, Your Honor.

05:22:46   21               THE COURT:    All right.    I have before me a Financial

05:22:49   22    Affidavit with your name at the top, what appears to be some

05:22:52   23    financial information, and a signature at the bottom.           Did you

05:22:55   24    provide financial information to Ms. Thayer so she could

05:22:59   25    complete this Financial Affidavit for my consideration?
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05:23:04    1               THE DEFENDANT:     Yes, I did, Your Honor.

05:23:06    2               THE COURT:    And when you did that, did you do that

05:23:08    3    understanding you were doing it under the penalties of perjury,

05:23:10    4    meaning all that financial information you provided to her has

05:23:12    5    to be true and correct to the best of your knowledge?

05:23:16    6               THE DEFENDANT:     Yes, Your Honor.

05:23:17    7               THE COURT:    And is that information true and correct

05:23:18    8    to the best of your knowledge?

05:23:21    9               THE DEFENDANT:     Yes, it is, Your Honor.

05:23:22   10               THE COURT:    And did you give Ms. Thayer your

05:23:24   11    permission to -- her -- your permission to sign it at the

05:23:29   12    bottom indicating that that financial information is true and

05:23:32   13    correct?

05:23:34   14               THE DEFENDANT:     Yes, Your Honor.

05:23:35   15               THE COURT:    All right.    Based upon it that affidavit,

05:23:37   16    I find that you are financially unable at the present time to

05:23:41   17    retain counsel.     I'll therefore appoint the Federal Public

05:23:48   18    Defender's Office to represent you.        Ms. Thayer is an attorney

05:23:52   19    in their office and she's here today to represent you.

05:23:54   20               Have you had a chance to speak to her today regarding

05:23:56   21    the allegations contained in the complaint?

05:24:09   22               THE DEFENDANT:     Yes, Your Honor.

05:24:10   23               THE COURT:    And do you understand those allegations

05:24:12   24    and the purpose of today's hearing?

05:24:15   25               THE DEFENDANT:     Yes, Your Honor.
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05:24:16    1               THE COURT:    Ms. Thayer, do you have any reason to

05:24:17    2    question the competency of your client to assist in his

05:24:20    3    defense, to understand the nature of the charge against him, or

05:24:22    4    understand the purpose of today's hearing?

05:24:25    5               MS. THAYER:    I do not, Your Honor.

05:24:27    6               THE COURT:    And do you waive a reading of the

05:24:29    7    complaint?

05:24:32    8               MS. THAYER:    Yes, we do.

05:24:33    9               THE COURT:    Noting the government's obligation, the

05:24:36   10    Court will advise you that under federal law, including

05:24:41   11    Rule 5(f) of the Federal Rules of Criminal Procedure, the

05:24:46   12    Supreme Court's decision in Brady vs. Maryland and all the

05:24:53   13    applicable decisions interpreting Brady, the government is

05:25:01   14    ordered to disclose to the defendant in a timely manner all

05:25:04   15    information or evidence known to the government that is either,

05:25:06   16    one, relevant to the defendant's guilt or punishment, or, two,

05:25:13   17    favorable to the defendant on the issue of guilt or punishment.

05:25:25   18    Consequences for violating either this order or the

05:25:29   19    government's obligation under Brady include, but are not

05:25:37   20    limited to, the following:      Contempt, sanction, referral to a

05:25:46   21    disciplinary authority, adverse jury instruction, exclusion of

05:25:55   22    evidence and/or dismissal of charges.        A written order will

05:26:01   23    follow.

05:26:03   24               The Court will determine whether there is a date

05:26:06   25    necessary for a hearing in D.C. depending on a detention
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05:26:21    1    determination.

05:26:21    2                On the matter of pretrial release, what is the

05:26:24    3    government's position?

05:26:36    4                MR. DICKINSON:    The government seeks detention,

05:26:39    5    Your Honor.

05:26:39    6                THE COURT:    And are you ready to proceed today?

05:26:42    7                MR. DICKINSON:    Yes, Your Honor.

05:26:43    8                THE COURT:    Ms. Thayer, are you ready to proceed?

05:26:46    9                MS. THAYER:    Yes, Your Honor.

05:26:46   10                THE COURT:    And have you gone over the

05:26:49   11    Pretrial Services report with your client?

05:26:51   12                MS. THAYER:    Yes.

05:26:51   13                THE COURT:    And did you have an opportunity to review

05:26:53   14    the government's detention memorandum found at Document 1?

05:26:57   15                MS. THAYER:    I did, Your Honor.

05:26:58   16                THE COURT:    All right.    I will hear -- and I asked if

05:27:01   17    you're ready to proceed; correct?        You're ready to go?

05:27:08   18                MS. THAYER:    Yes.

05:27:09   19                THE COURT:    All right.    Thank you.

05:27:09   20                Mr. Dickinson.

05:27:11   21                MR. DICKINSON:    Yes, Your Honor, same -- same with

05:27:19   22    our -- technical difficulties, the government is going to rely

05:27:33   23    strongly on the fact that the Court and Ms. Thayer have read

05:27:37   24    the complaint in this case as well as the government's

05:27:39   25    detention memo.     Just wanted to point out a few things.
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05:27:43    1                First, obviously, the conduct the defendant engaged in

05:27:46    2    is -- is extremely troubling.       He was part of the mob that

05:27:50    3    stormed the United States Capitol on the 6th objecting to the

05:27:58    4    certification of the president, endangering members of

05:28:06    5    Congress, the vice president, the vice president-elect.

05:28:10    6                The defendant -- this was premeditated.        The defendant

05:28:16    7    was in videos right with his -- with a Ronald Sandlin, who's

05:28:28    8    appeared before this Court today.        Mr. Sandlin made sort of

05:28:31    9    more aggressive remarks than Mr. DeGrave.         Mr. DeGrave was

05:28:42   10    sitting right there.      He takes the camera.      He says, "We are

05:28:45   11    protecting the country.      If the shit goes down, I say, 'bring

05:28:48   12    it.'   We are not silent anymore."       He's right there when

05:28:55   13    Mr. Sandlin is discussing that they want to take the Capitol

05:29:00   14    later in the day.

05:29:02   15                One thing is the defendant here was dressed in

05:29:05   16    tactical gear, full body armor, a helmet, and a face mask.

05:29:14   17                The felony he's charged with relates to his assaulting

05:29:17   18    of an officer/officers in the Capitol.         They get in a shoving

05:29:28   19    match.    The defendant then, where he's in full tactical gear,

05:29:34   20    including the helmet, raises his hands like a boxer and stands

05:29:40   21    off.   That picture is in the complaint.        And then after some

05:29:51   22    time -- which I don't believe this is in the complaint -- the

05:29:56   23    defendant pounds his chest and at that point he lifts off his

05:30:00   24    helmet revealing that it is the defendant.

05:30:04   25                Needless to say, if someone wants to protest in body
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05:30:07    1    armor, to each their own.       However, when the defendant's

05:30:13    2    dressed like this and storms the Capitol, it clearly sends a

05:30:18    3    message, it's intimidating, and then he assaults an officer.

05:30:21    4                Both the defendant -- the defendant started deleting

05:30:26    5    his social media postings shortly thereafter regarding the

05:30:30    6    events of that day.

05:30:31    7                Note that he traveled all the way from Nevada to the

05:30:33    8    District of Columbia to engage in this behavior.           Again, the

05:30:38    9    evidence is overwhelming that he was going to D.C. to look for

05:30:45   10    trouble with others, and did just that, in an unprecedented

05:30:50   11    attack on this country.

05:30:53   12                He shows no respect for the law.       There's nothing to

05:30:56   13    give this Court any satisfaction that he will obey the orders

05:31:00   14    of the Court.

05:31:01   15                Real quickly, looking at the Pretrial Services report,

05:31:13   16    little to no verification.       Was not able to talk to the

05:31:16   17    roommate.    The one friend they did talk to, I'll just note,

05:31:19   18    said that he's not -- the defendant's not militant in any way.

05:31:26   19    The only way to describe what the defendant did on the 6th is

05:31:29   20    militant.

05:31:41   21                There's no details on his online business.           He

05:31:43   22    provided nothing of any detail about what this work entails, if

05:31:50   23    he's earning income, et cetera.

05:31:53   24                He lost his active passport.       He has international

05:31:56   25    travel.
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05:31:58    1                So, in short, the government does not believe the

05:32:01    2    Court can fashion conditions or a combination of conditions

05:32:14    3    related to releasing this defendant.

05:32:16    4                THE COURT:    Thank you, Mr. Dickinson.

05:32:17    5                Ms. Thayer.

05:32:20    6                MS. THAYER:    Thank you, Your Honor.

05:32:20    7                I'd like to begin by taking one step back to the

05:32:25    8    government's motion for a Detention Hearing in the very first

05:32:27    9    place here.    The government relies in its memo on (f)(2)(B) of

05:32:39   10    the Bail Reform Act at § 1752 of the code.           That subsection

05:32:50   11    requires that the government provide some evidence that

05:32:54   12    Mr. DeGrave presents a "serious risk," that he will "obstruct

05:32:59   13    or attempt to obstruct justice."        The rest of that provision

05:33:04   14    indicates that what is really at issue here is whether this

05:33:07   15    person will be ob- --

05:33:24   16         (Videoconference terminated).

05:33:24   17                COURTROOM ADMINISTRATOR:      Hang on.    I think they

05:33:28   18    realized it, Judge.

05:34:04   19                THE COURT:    Okay.

05:34:05   20                COURTROOM ADMINISTRATOR:      You want to do this

05:34:07   21    telephonically?

05:34:09   22                THE COURT:    Not this one.    We have to be in person.

05:34:11   23    The next one maybe, but not with this and these facts and these

05:34:17   24    cases --

05:34:19   25                COURTROOM ADMINISTRATOR:      I just wasn't sure.
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05:34:21    1                THE COURT:    -- so we --

05:34:33    2                COURTROOM ADMINISTRATOR:      No.   Definitely, Judge.

05:34:36    3    We'll get another one opened up again and --

05:35:32    4                THE COURT:    Get it opened and do it and then we'll see

05:36:04    5    if Ms. Thayer will do the last one telephonically.

05:36:14    6                COURTROOM ADMINISTRATOR:      Okay.

05:36:16    7                THE COURT:    But this one we have to do in person.

05:36:18    8                COURTROOM ADMINISTRATOR:      Definitely, Judge.

05:36:32    9                THE COURT:    And that IT has to -- this has to --

05:37:11   10                COURTROOM ADMINISTRATOR:      I will -- I will talk to

05:37:12   11    them, Judge.

05:41:43   12         (Recess taken from 4:55:02 p.m. till 5:07:51 p.m.)

05:41:43   13                THE DEFENDANT:    Yes, I can, Your Honor.

05:41:44   14                THE COURT:    And Mr. DeGrave, I apologize.          We are

05:41:46   15    having problems with the equipment.        It keeps kicking us off.

05:41:54   16    Hopefully, we can finish the hearing before it does that.

05:41:57   17                Ms. Thayer, you were telling me why -- well, just

05:42:02   18    continue if you remember where you were at in your argument.

05:42:07   19    You had just started.

05:42:08   20                MS. THAYER:    I do, Your Honor.      And just for the

05:42:11   21    record, I was just lodging an objection about the government's

05:42:16   22    threshold to meet some sort of obstruction showing for in the

05:42:20   23    future that there would be obstruction in this case, and I

05:42:25   24    don't think they've done that.        All they've cited is the

05:42:31   25    alleged conduct that occurred on November 6th, which had
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05:42:35    1    nothing to do with the administration of this case or sort of a

05:42:44    2    pattern of conduct where he would do so in the future.

05:42:48    3                So, with that preliminary matter objected to, I would

05:42:52    4    just like to focus more -- more importantly, if the only

05:43:28    5    reason that we're here under the preponderance or

05:43:58    6    (unintelligible) standards that apply.

05:44:02    7                Turning first to the risk of non-appearance, the

05:44:05    8    pretrial officer does recommend that Mr. DeGrave could be a

05:44:10    9    risk of non-appearance but there are surely conditions that

05:44:15   10    could be imposed that would alleviate any of those risk.          And

05:44:18   11    the government hasn't rebutted that evidence or anything in the

05:44:21   12    report with -- with any other evidence or proffer that would

05:44:25   13    show that he is actually a risk of non-appearance.           So the

05:44:29   14    government essentially provided to this Court a closing

05:44:32   15    argument that would be a preview for their trial case, but that

05:44:38   16    is not actually relevant to the risk of non-appearance and, so,

05:44:42   17    the government has not met its burden, even under

05:45:12   18    preponderance, to show that, especially in light of Pretrial's

05:45:18   19    recommendation.

05:45:18   20                And, so, I'd like to focus more on the danger aspect,

05:45:22   21    which I actually think that the pretrial report, the

05:45:27   22    recommendation might be in part driven by what I would say is

05:45:32   23    an error in the report.      At Page 3, there is a discussion

05:45:38   24    about. . . the AUSA in this case -- I believe that is

05:45:50   25    Mr. Dickinson and he can correct me if I'm wrong -- that he
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05:45:58    1    reported that there was a search of my client's home and they

05:46:03    2    found a lawfully registered firearm in his nightstand.           But

05:46:12    3    then, the report goes on to state that it should be noted the

05:46:18    4    defendant self-reported there are no weapons at his residence.

05:46:22    5                It is my understanding, actually, that Mr. DeGrave

05:46:24    6    was interrogated after he was interviewed -- or after he was

05:46:29    7    arrested and admitted to precisely where that firearm was

05:46:33    8    located, even saying it was in -- next to the nightstand.          So,

05:46:36    9    that, to me -- of course, I do not have the discovery in this

05:46:40   10    case yet, the government is the only one with the recorded --

05:47:13   11    oh, well, I would assume recorded, I guess we don't know --

05:47:27   12    with any sort of record of the interrogation, but that is a

05:47:31   13    very crucial fact to me because -- especially because

05:47:34   14    Mr. DeGrave admitting he has a lawfully registered firearm and

05:47:43   15    it -- and telling them exactly where it is.

05:47:45   16                I would submit that once that fact is corrected, then

05:47:48   17    the dangerousness drops off because all that is left is the

05:47:56   18    government's closing argument about the nature of the alleged

05:48:00   19    offenses.    And, of course, that is a factor and it can be an

05:48:03   20    important one, but it is just one of the factors.           The Court

05:48:06   21    has to look at everything before it, and Mr. DeGrave is not

05:48:09   22    dangerous.

05:48:18   23                And before I move on from the offenses, I'd like to

05:48:21   24    further contextualize them.       I've pulled up the statutes and

05:48:25   25    the very -- the first count is actually a wobbler, so it could
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05:48:38    1    be a felony or a misdemeanor depending on whether it's an

05:48:42    2    attempt and conspire to enter grounds without lawful authority.

05:48:50    3    It could be a felony or misdemeanor depending on what is proven

05:48:55    4    at trial.    So that is not as serious of a charge as the

05:49:00    5    government's complaint would indicate.

05:49:01    6                The same is true -- or, actually, and for Count Two,

05:49:05    7    Violent Entry and Disorderly Conduct, that actually is a

05:49:13    8    misdemeanor that only carries 6 months in jail as the highest

05:49:16    9    penalty.

05:49:17   10                Count Three is the only pure felony that is charged,

05:49:21   11    and the statutory cap is not more than 5 years.

05:49:24   12                So as this Court is aware, those are quite low

05:49:28   13    statutory caps for federal offenses, and that must factor in

05:49:36   14    that although, of course, the conduct here is serious and it is

05:49:40   15    a federal offense and what happened is serious, I'm not trying

05:49:47   16    to mitigate the allegations, but the reality is these are not

05:49:51   17    offenses that are charged in a serious manner and that should

05:50:02   18    not be -- the facts cannot overshadow the actual legal

05:50:16   19    guidelines at play here, which is that this is mostly

05:50:19   20    misdemeanor conduct that is charged, allegations.

05:50:22   21                And then that turns me to the actual factual

05:50:25   22    allegations in the complaint.       At Page 2, there is sort of a

05:50:55   23    passive voice about a shoving match between my client and other

05:51:01   24    charged individuals and the police.        I would admit -- I would

05:51:07   25    submit, though, that there's no screenshot of the alleged
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05:54:05    1    shoving match.     However, there is a screenshot of my client

05:54:09    2    allegedly putting up his fists and beating his own chest, which

05:54:13    3    I would submit is not anything to the officer, but, in fact,

05:54:19    4    hitting his own self, which is not showing he's a danger to

05:54:24    5    others.    So, on the -- the one allegation that the government

05:54:31    6    has where he may have -- where he's alleged to have shoved an

05:54:34    7    officer, there's not actually corroborating proof with a

05:54:41    8    screenshot and if it existed, I would submit it would be in

05:54:44    9    this complaint because there are screenshots of less egregious

05:54:56   10    conduct.    So the Court should take that into account that this

05:55:02   11    was a huge group and it will be unclear who was shoving who,

05:55:08   12    especially as this Court knows just from being at a concert,

05:55:12   13    there's momentum going with the group.         You can't necessarily

05:55:17   14    ascribe intent to that shoving, and that's the only physical

05:55:24   15    conduct the Court has -- or the government has identified.

05:55:27   16                I'd like to also point out, of course my client has

05:55:32   17    almost no criminal history.       He has a couple of

05:55:35   18    non-prosecutions for shoplifting as a youth and also when he

05:55:44   19    was 19.    So there's -- there's just not a risk of a pattern of

05:55:49   20    this behavior.     He's now 31.    So, this is -- this is not

05:56:01   21    something the Court should be concerned about, especially if

05:56:07   22    the Court fashioned a condition saying stay away from anyone

05:56:10   23    else who you know was, you know, charged in this event, or

05:56:18   24    if -- something to keep him away from the group because even as

05:56:21   25    his friend stated in the report, Mr. Fleming, that he's -- he's
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05:56:47    1    not -- he wouldn't have been a leader in this, he would have

05:56:52    2    been a follower.     So maybe at best, he's got -- at worst he got

05:57:03    3    swept up in this.     So isolating him away from anyone else

05:57:08    4    charged in this conduct I think would be more than sufficient

05:57:12    5    to alleviate any concerns the Court would have, and there's

05:57:19    6    just no indication that Mr. DeGrave, now that, of course, he's

05:57:30    7    sat in federal custody, would engage in any sort of dangerous

05:57:35    8    behavior at this point moving forward.

05:57:39    9                And we'd just ask that the Court release him to his

05:57:43   10    home where he's lived for 4 years.        I was not able to -- my

05:57:46   11    investigator couldn't find a phone number for his roommate.         He

05:57:51   12    doesn't know it by heart.       To me, that is very common nowadays.

05:57:56   13    I do not know many numbers by heart either because they're all

05:57:59   14    just saved in our smartphones, but I do think that there's --

05:58:04   15    that Probation -- or that Pretrial was able to confirm he's

05:58:16   16    lived there and there's no concern of any -- and I believe he

05:58:22   17    was arrested there, so, there's no doubt that's his home and

05:58:25   18    that he can be supervised there.

05:58:27   19                So, unless the Court has questions, I would submit on

05:58:30   20    that.

05:58:33   21                Thank you.

05:58:33   22                THE COURT:    All right.    No questions.

05:58:34   23                Mr. Dickinson.

05:58:38   24                MR. DICKINSON:    Just briefly, Your Honor.

05:58:40   25                The government -- the government did report the
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05:58:41    1    firearm because Pro- -- Pretrial, they always ask if we knew

05:58:48    2    that there's a firearm in the house and it is correct, the

05:58:52    3    government -- law enforcement found that it was legally

05:58:54    4    registered to him, so at that point it was left depending on

05:58:58    5    the outcome of further proceedings.        Obviously, if he's going

05:59:03    6    to -- if he'd be released, the government would want the

05:59:11    7    firearms out of the home.

05:59:16    8                Just briefly, Your Honor, I mean, the government needs

05:59:21    9    to show an attempt obstruction.        And granted, it's one factor,

05:59:27   10    but this case is just different than any other I'm assuming

05:59:34   11    that's probably been before Your Honor and there's probably

05:59:37   12    never been a collective bigger attempt to obstruct justice than

05:59:41   13    what the defendant engaged in.         So, the government goes back to

05:59:46   14    that and submits it to Your Honor.

05:59:48   15                THE COURT:    All right.    The Court's reviewed the

05:59:52   16    government's detention memorandum found at Document No. 1, the

05:59:58   17    Pretrial Services report, the complaint, has considered the

06:00:03   18    arguments of the parties.

06:00:04   19                The Court does find by a preponderance of the evidence

06:00:06   20    that he is a risk of non-appearance based upon the following:

06:00:09   21                First, the lack of confirmation or verification of his

06:00:47   22    living arrangements, the fact that they could not or nobody

06:00:54   23    could figure out or contact his roommate.         While it's

06:00:59   24    apparently clear he lives there, the circumstances surrounding

06:01:00   25    that are unclear to the Court.         More importantly, the lack of
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06:01:09    1    confirmation about his employment, his income, and the -- the

06:01:15    2    vague nature of what he's doing for a living, his possession of

06:01:21    3    a passport, extensive foreign travel, his substance use

06:01:27    4    history, and I think the facts and circumstances of this case

06:01:30    5    are such that the Court finds by a preponderance of the

06:01:33    6    evidence he is a risk of non-appearance.

06:01:35    7                The Court also finds that he's a danger to the

06:01:37    8    community based upon the nature of the instant alleged offense

06:01:39    9    and the substance use history.

06:01:41   10                Counsel points out, and correctly so, that the nature

06:01:48   11    of the offense is but one consideration, is the least important

06:01:53   12    consideration, but the Court cannot conceive of any similar

06:01:56   13    type of offense such as storming the Capitol with a mob of

06:02:01   14    people intent on overturning a lawful election and doing so

06:02:06   15    with whatever means necessary, including violence.           In

06:02:10   16    preparation for that, this young man wears full body armor,

06:02:13   17    tactical gear, along with a face mask in anticipation of that.

06:02:16   18    And, so, the Court does find that given the nature and

06:02:20   19    circumstances and allegations in this case, they do rise to the

06:02:28   20    level -- notwithstanding what the Bail Reform Act directs me to

06:02:32   21    do -- to the level that he is a danger by clear and convincing

06:02:36   22    evidence.

06:02:37   23                And I also find that he is a risk to obstruct the

06:02:42   24    government and obstruct justice as a result of not only his

06:02:45   25    conduct, which is extensive in preparing for what happened on
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06:02:47    1    this date, but in what he did afterwards, including deleting

06:02:51    2    social media postings and traveling back to Las Vegas.           And,

06:02:55    3    so, I do find that he's a risk to obstruct as well.

06:02:58    4                Furthermore, I find that there are no condition or

06:03:00    5    combination of conditions that would address these concerns.

06:03:04    6    As I indicated in the last case, given the nature of the

06:03:06    7    allegations and the facts and evidence presented to the Court

06:03:08    8    to support those allegations, even if I thought conditions

06:03:11    9    would address these concerns, I'm not convinced he would follow

06:03:14   10    them.

06:03:14   11                The man, as I indicated, went to Washington, D.C. in

06:03:18   12    full body armor and face mask to disrupt a lawful election with

06:05:28   13    a mob of other people, with whatever -- by whatever means they

06:05:35   14    found appropriate.      The facts of this case reflected he has an

06:05:38   15    utter disregard and lack of respect for some of the most

06:05:42   16    important institutions in our country and more importantly, a

06:05:49   17    lack of respect for the laws of this nation.          And with that

06:05:52   18    lack of respect, the Court cannot conceive and isn't convinced

06:05:56   19    that he would respect this institution, the judiciary, any more

06:06:12   20    than he's respected all the other institutions and that he

06:06:16   21    would take conditions seriously or follow the conditions if I

06:06:19   22    were to impose them as a condition of release.

06:06:22   23                And, so, I do find that he's a danger and a flight

06:06:25   24    risk, and a risk to obstruct justice such that no combination

06:06:35   25    of conditions will address those concerns.          I will detain you
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06:06:39    1    pending your transportation back to the District of Columbia to

06:06:42    2    face these charges.      I will ask Mr. Dickinson to provide a

06:06:46    3    report to the Court in 30 days if he's not transferred back

06:06:49    4    outlining when the Court -- or when the government thinks he

06:06:52    5    will be brought back to Washington, D.C.

06:06:55    6                I do have, Ms. Thayer, a waiver of the Identity

06:06:59    7    Hearing.    Do I understand it correctly, you would like to have

06:07:02    8    a Preliminary Hearing in this district?

06:07:02    9         (Brief pause in proceedings).

06:07:09   10                THE COURT:    Ms. Thayer?

06:07:11   11                Everybody stopped, Jerry.

06:07:15   12                COURTROOM ADMINISTRATOR:      Gosh.    No, they're moving,

06:07:18   13    Judge.    We've lost you for some reason.         I know you're on

06:07:23   14    there, but you're not on my screen, Judge, so I don't know

06:07:30   15    what's going on.

06:07:38   16                THE COURT:    Mr. DeGrave, can you hear me?

06:07:42   17                Boy, I got to tell you. . .

06:10:51   18         (Videoconference terminated).

06:10:51   19                THE COURT:    All right, folks.     Apologize again.       We

06:10:54   20    were kicked off.

06:10:55   21                Everybody hear us okay?

06:10:57   22                So I had made my record on the detention.            Did

06:11:00   23    everybody hear that before we were switching to the waiver?

06:11:03   24         (No audible response).

06:11:23   25                THE COURT:    All right.    So, Ms. Thayer, I have a
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06:11:27    1    waiver for the Identity Hearing.        Did you, indeed, want the

06:11:29    2    Preliminary Hearing to be scheduled in this court?

06:11:34    3                MS. THAYER:    I believe. . . yes, for now.          Is it still

06:11:40    4    a 14-day deadline?       I apologize, Your Honor.     I haven't had a

06:11:48    5    Rule 5 with a complaint in awhile.

06:11:57    6                THE COURT:    Well --

06:11:59    7                MS. THAYER:    So -- so yes, we'd like to not waive

06:12:04    8    that.    I'd like to at least talk to his D.C. attorneys when

06:12:11    9    they get appointed.

06:12:14   10                THE COURT:    Well, I can certainly set it, but he's not

06:12:18   11    going to be taken back or transported until we have that

06:12:20   12    hearing if everything's finalized here.           So -- but if we set

06:12:24   13    it, you can always file a written waiver and we can vacate it

06:12:27   14    and I can issue an order sending him back if that's how you

06:12:33   15    decide you want to go as well.

06:12:37   16                MS. THAYER:    Yes.   If that's okay with Your Honor, can

06:12:40   17    we please set it today and then I will speak with my client and

06:12:46   18    we'll decide where to go from there and let the Court and the

06:12:49   19    government know as soon as possible.

06:12:52   20                THE COURT:    All right, Jerry.     So let's set that.

06:12:57   21                COURTROOM ADMINISTRATOR:      Okay.    Judge, I'm just going

06:13:02   22    to mute this real quick.

06:13:05   23                THE COURT:    All right.

06:13:16   24         (Brief pause in proceedings).

06:14:05   25                THE COURT:    All right.    We were just looking at dates,
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06:14:15    1    and the -- 2 weeks from today is February 15th, and that is

06:14:20    2    President's Day, and so we will set it for the 16th.

06:14:24    3                Mr. Dickinson, I intend, at this stage, to set it for

06:14:27    4    3 o'clock, understanding that that's 6 o'clock back in the

06:14:32    5    east, but for now, that's when I will set it and we will see

06:14:34    6    how this plays out with what you need via witnesses or timing

06:14:42    7    or the like.

06:14:44    8                And, so, Jerry, give us a date for the Preliminary

06:14:51    9    Hearing.

06:14:51   10                COURTROOM ADMINISTRATOR:      Your Honor, that will be

06:14:52   11    3:00 p.m., and it will be via videoconferencing.

06:14:58   12                THE COURT:    On Tuesday, February 16th, 2021.

06:15:03   13                COURTROOM ADMINISTRATOR:      I apologize, Your Honor.

06:15:04   14                THE COURT:    No problem.

06:15:05   15                All right.    You have waived the Identity Hearing and

06:15:08   16    the production of a warrant, so the identity issue has been

06:15:11   17    waived but -- and Mr. DeGrave, did you talk to Ms. Thayer about

06:15:15   18    your right to an Identity Hearing and waiving that right

06:15:18   19    indicating that all you're admitting is you're the

06:15:23   20    Nathaniel DeGrave that they're looking -- that's named in that

06:15:27   21    complaint and you're not admitting anything else?           Do you agree

06:15:34   22    to that?

06:15:38   23                THE DEFENDANT:    Yes, Your Honor.

06:15:39   24                THE COURT:    And you talked to Ms. Thayer about that?

06:15:45   25                Did you talk to Ms. Thayer about that?
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06:15:48    1                THE DEFENDANT:    Yes, Your Honor.

06:15:50    2                THE COURT:    All right.    And, so, the Court will find

06:15:51    3    that that waiver is voluntarily and knowingly given after

06:15:56    4    discussing his right to have an Identity Hearing and discussing

06:15:59    5    that right with Ms. Thayer and, so, we'll set the matter for a

06:16:06    6    Preliminary Hearing.

06:16:08    7                You will be remanded to the custody of the marshal

06:16:10    8    pending that Preliminary Hearing.        Of course, if you decide to

06:16:13    9    waive that, we can remand you immediately and that will speed

06:16:16   10    the process of getting you back to D.C.

06:16:18   11                Mr. Dickinson, you can hold that Status Report.      I

06:16:23   12    will make a further order on that depending on when we have a

06:16:26   13    prelim or what happens on down the line.

06:16:28   14                Is there anything else from the government on this

06:16:30   15    matter?

06:16:30   16                MR. DICKINSON:    No, Your Honor.     Thank you.

06:16:31   17                THE COURT:    All right.    Anything else from the

06:16:33   18    defense, Ms. Thayer?

06:16:35   19                MS. THAYER:    No, Your Honor.

06:16:36   20                THE COURT:    All right.    That concludes this matter.

06:16:39   21                Sir, if you can knock on that door and get their

06:16:42   22    attention.

           23          (Proceedings adjourned at 5:32:20 p.m.)

           24    ///

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            1                             C E R T I F I C A T E

            2

            3            I, Heather K. Newman, court-approved transcriber, certify

            4    that the foregoing is a correct transcript transcribed from the

            5    official electronic sound recording of the proceedings in the

            6    above-entitled matter.

            7

            8            /s/ Heather K. Newman                  2-9-2021
                           Heather K. Newman                      Date
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